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6                         UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
7

8 UNITED STATES OF AMERICA,                    )     NO. CR08-5601BHS
                                               )
9                  Plaintiff,                  )
                                               )     ORDER GRANTING
10                 vs.                         )     DEFENSE MOTION TO AMEND
                                               )     JUDGMENT AND SENTENCE
11   LAWRENCE WILLIAMS,                        )
                                               )
12                 Defendant.                  )
                                               )
13
             This matter came before the Court for consideration of Defendant’s Motion to
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     Amend Judgment and Sentence. Dkt. 205.
15
             The Court, having reviewed the unopposed motion, declaration of counsel in
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     support and proof of Defendant’s legal name change, finds that the judgment entered on
17
     August 23, 2010 (Dkt. 204) should be amended to reflect the Defendant’s legal name.
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             Now, therefore it is hereby ordered that counsel for the United States of America
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     will prepare an amended judgment and sentence to reflect the Defendant’s name as
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     follows: Mikaeel Youf Azeem, a.k.a. Lawrence Williams.
21
             DONE this 24th day of September 2010.




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25                                                    BENJAMIN H. SETTLE
                                                      United States District Judge
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     ORDER
